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                                                                            MAY 0 4 2017
                                                                        Clerk, u.s 0 . .
               IN THE UNITED ST ATES DISTRICT COURT                       District Of Mlltrict Court
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                   FOR THE DISTRICT OF MONTANA
                         HELENA DIVISION

 UNITED STATES OF AMERICA,                   CR 17-7-H-SEH

              Plaintiff,
                                             ORDER
       vs.

 JEFF ALLEN TRASK,
 CHASE RYAN STORLIE,
 HECTOR RICARDO GONZALEZ,
 and CHRISTIAN JESUS RUIZ,

              Defendants.


      Based on motion of the United States and good cause appearing,

      IT IS HEREBY ORDERED that the indictment is unsealed for the limited

purposes of defendant Hector Ricardo Gonzalez' initial appearance scheduled for

May 4, 2017, at 12:00 p.m. in the Eastern District of Washington.

      DATED this    ""fM day of May, 2017.



                                         ited States Magistrate Judge
